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        Exhibit "3"
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 BODYGUARD PRODUCTIONS, INC., ET
 AL.,                                             Civil Action No. 3:21-cv-15310-FLW-TJB
                                                  Georgette Castner, presiding
 Plaintiffs,                                      Tonianne J. Bongiovanni, referral

 v.
 RCN TELECOM SERVICES OF
 MASSACHUSETTS, LLC and RCN
 TELECOM SERVICES, LLC,

 Defendants.


    PLAINTIFFS’ FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
 DEFENDANTS RCN TELECOM SERVICES OF MASSACHUSETTS, LLC AND RCN
                       TELECOM SERVICES, LLC
          Please take notice that pursuant to Rule 34, Federal Rules of Civil Procedure (“FRCP”),

(“Plaintiffs”) hereby request discovery from Defendants RCN TELECOM SERVICES OF




20-023T
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   not limited to how soon after nonpayment RCN suspends service to or terminates a

   customer account.



89. Request for Production: Each document that mentions, relates to, or constitutes any

   communication between Defendants and each of the subscribers related to a piracy notice

   concerning any such subscriber assigned the IP addresses shown in Exhibits 1-2. \




   DATED: Kailua-Kona, Hawaii, Jan. 9, 2023.




                                Attorney for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on Jan. 9, 2023, I caused a copy of the foregoing to be served upon the

following via email.

ZHowenstine@atllp.com;

ebehm@atllp.com;

RBrophy@atllp.com;

mszewczyk@atllp.com;

skjohnson@atllp.com




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